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                            ATTACHMENT A
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                               UNITED STATES DISTRICT COURT
13
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
       UNITED STATES OF AMERICA,                No. CR 2:20-326(A)-JFW-2
15
                  Plaintiff,                    GOVERNMENT’S REPLY TO DEFENDANT
16                                              RAYMOND CHAN’S RESPONSE TO ORDER
                        v.                      TO SHOW CAUSE FILED 1/31/2023
17
       RAYMOND SHE WAH CHAN,
18       aka “She Wah Kwong,”

19                Defendant.

20

21           Plaintiff United States of America, by and through its counsel
22     of record, the United States Attorney for the Central District of
23     California and Assistant United States Attorneys Mack E. Jenkins,
24     Cassie D. Palmer, Susan S. Har, and Brian R. Faerstein, hereby files
25     its reply to defendant Raymond Chan’s Response to Order to Show Cause
26     Filed 1/31/2023. (Dkt. No. 924.)        The government has
27     contemporaneously filed an ex parte application seeking leave from
28     the Court to file this reply.
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1            The government’s reply is based upon the attached memorandum of

2      points and authorities and the exhibits attached thereto, the files

3      and records in this case, and such further evidence and argument as

4      the Court may permit.

5       Dated: February 6, 2023              Respectfully submitted,

6                                            E. MARTIN ESTRADA
                                             United States Attorney
7

8                                                /s/
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1                                     TABLE OF EXHIBITS

2       Exhibit                        Description                             Cite
3                 Defendant-BXG Group Text Messages Re: Federal
           A                                                               p. 5
                  Investigation (redacted)
4                 FBI (highlighted) notes of 1/24/23 meeting with
           B                                                               p. 6
                  Yan Yan
5
                  FBI (highlighted) notes of 2/2/23 meeting with
           C                                                               p. 6
6                 Yan Yan

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1                                    GOVERNMENT’S REPLY

2      I.    OVERVIEW

3            On January 31, 2023, the Court denied defendant Raymond Chan’s

4      ex parte application to modify the conditions of his pre-trial

5      release, and confirmed that (1) defendant remains prohibited from

6      having contact with witnesses; (2) defendant remains prohibited from

7      communicating with Jeremy Chan about the substance of the case (in

8      which Jeremy Chan is also implicated); and (3) Jeremy Chan is not

9      permitted to participate in the preparation of the defense
10     “regardless of whether Jeremy Chan serves as trial counsel or is part
11     of the legal defense team that prepares the defense case for trial.”
12     (Dkt. No. 922.)     That same day, the Court also issued an Order to
13     Show Cause (“OSC”) why defendant’s bond should not be revoked, in
14     light of his admitted repeated violations of his conditions of pre-
15     trial release, including his contact with witnesses beyond Jeremy
16     Chan.   (Dkt. No. 923.)     Additionally, the Court ordered defendant to
17     provide (1) a list of witnesses defendant had contacted since
18     December 1, 2020; (2) the dates of those contacts; and (3) whether

19     the contact was oral or in writing.         (Id.)

20           In his response to the OSC (the “response” or “Resp.”),

21     defendant and his counsel deliberately sidestep the Court’s

22     instruction to identify the specific witnesses that defendant has

23     contacted and the dates and form of those contacts.           (Dkt. No. 924.)

24     Instead, defendant attempts to relitigate his repeated violations of

25     his pretrial release conditions and essentially improperly seeks

26     reconsideration of the Court’s order denying defendant’s ex parte

27     application to modify his bond conditions.          (Id.)

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1            Accordingly, the government files this reply to provide material

2      information via the attached exhibits regarding defendant’s recent

3      contacts with a government witness, Yan Yan, for the Court’s

4      consideration.     Most troublingly, by largely disregarding the Court’s

5      order that defendant provide a list describing the dates and form of

6      his contacts with witnesses, defendant omits material information

7      regarding his numerous and ongoing contacts with Yan Yan--including

8      after she testified as a witness in the SZNW trial and even after the

9      January 25, 2023 status conference, when this Court made clear that
10     defendant should cease contacts with witnesses.

11           The government also addresses its continuing concern about

12     Jeremy Chan’s participation on the “defense team,” particularly in

13     light of the vague and at times defiant assertions defendant and

14     defense counsel make in their declarations in support of the

15     response.    Notwithstanding the unequivocal nature of the Court’s

16     January 31, 2023 order precluding Jeremy Chan from participating in

17     the preparation of the defense, the defense’s response to the OSC

18     reveals a flippant and noncompliant attitude towards the Court’s

19     orders, justified by convoluted and illogical interpretations of such

20     orders, and leaves more questions than it answers as to whether

21     defendant will comply with his pretrial release conditions going

22     forward.

23           Based on the current record, specifically related to defendant’s

24     repeated and ongoing contacts with witnesses like Yan Yan, revocation

25     of defendant’s bond and his remand would be supported; however, the

26     government defers to the Court’s judgment on that matter and makes no

27     recommendation on this issue.

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1      II.   Defendant Concedes Knowledge of His Bond Condition

2            In his declaration in support of the response, defendant

3      concedes that he signed and was aware of the bond condition at issue:

4      that he avoid all contact with any person who is a “witness in the

5      subject investigation or prosecution.”          (Resp., Chan Decl. ¶ 4a

6      (emphasis added); see also Dkt. No. 100.)          With respect to Jeremy

7      Chan, an obviously known witness but also defendant’s son, the

8      condition carved out an exception so as not to restrict all contact,

9      but prohibited “discussion of [the] pending action”--a condition that
10     defendant similarly admits he signed.          (Id.)
11     III. Defendant Continues to Flout the Court-Ordered Condition of No-
            Witness Contact
12
             Notwithstanding the Court’s specific order that defendant
13
       provide the dates and form of his contacts with witnesses, defendant,
14
       via his sworn declaration, offers only a conclusory and non-specific
15
       description of his contacts with Yan Yan, an important and known
16
       witness who has testified previously.          (See Resp., Chan Decl. ¶ 11d.)
17
       Defendant’s description in his declaration is misleading and omits
18
       material information regarding his contacts with Yan Yan.
19
             First, defendant offers the incredible illogic that he did not
20
       understand Yan Yan to be a “known witness”; that is, defendant claims
21
       that he understood a “known witness” to be someone he knew was to
22
       testify at trial.     (Resp., Chan Decl. ¶ 11d (claiming he did not know
23
       Yan Yan “would be involved in this case” until reviewing the
24
       September/October 2022 witness list and “observ[ing] her on the
25
       witness stand” at the SZNW trial).          This explanation defies
26
       credulity.    Defendant’s bond condition prohibited contact with known
27
       witnesses “in the subject investigation or prosecution”--not
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1      witnesses known to have testified.        (See id. ¶ 4a (emphasis added).)

2      It is for that same reason that in December 2020, the Honorable Karen

3      L. Stevenson specified that, with respect to Jeremy Chan--a witness

4      who was obviously “known” long before any testifying witnesses were

5      identified--the condition was modified to preclude only discussion of

6      the action. 1   (Dkt. No. 100.)

7            Defendant clearly knew that Yan Yan was a witness in the

8      “subject investigation or prosecution.”         He knew it by his own

9      claimed discussion with her in November 2018 regarding her
10     involvement in the settlement loan for Jose Huizar.           (Resp., Chan
11     Decl. ¶ 11d.)    He knew it by the First Superseding Indictment
12     identifying Yan Yan (“Employee E”) as an employee of Shen Zhen
13     Company and alleging her involvement in structuring the settlement
14     funds.    (See FSI ¶ 21, OA 38, 44-45.)       He knew it by the extensive
15     discovery relating to Yan Yan, including documents reflecting her

16     name as the signatory for Wei Huang’s collateral ostensibly on behalf

17     of Grace Luck Holdings and by the FBI reports of interviews of Yan

18     Yan concerning the same.      He knew it by the pre-trial litigation

19     seeking to suppress purported attorney-client communications relating

20     to Yan Yan and the Grace Luck Holdings-related settlement

21     arrangement.    (See Dkt. Nos. 275, 316, 338, 339.)

22

23

24
             1Troublingly, Mr. Braun, advances the same illogical
25     interpretation of this standard pre-trial release condition. (Braun
       Decl. ¶ 18b (claiming that defendant contacted fifteen witnesses,
26     arguing that none of were “Government witnesses” and “[n]one of these
       persons were known witnesses”).) Nothing in the condition
27     distinguishes between “government” or “defense” witnesses or is
       limited to testifying witnesses; the condition prohibits contact with
28     all witnesses to the investigation for the same reason--to ward off
       undue influence or witness tampering.
                                          4
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1         Second, even after Yan Yan testified at the SZNW trial,

2    defendant continued to have multiple contacts with her--a fact that

3    is, troublingly, disclosed nowhere in defendant’s declaration.           For

4    instance, immediately following the verdict in the SZNW trial,

5    defendant sent a lengthy text message to the martial arts group

6    thread on November 10, 2022, explaining what he observed in the trial

7    and providing his take on the testifying witnesses.          (Ex. A at 17-19

8    (“Many of them know me and they all testified that I never went to

9    Vegas. . . . These witnesses also said many positive things about
10   me.”).) 2   On January 19, 2023, defendant sent another message to the

11   group thread including Yan Yan in which he touted Jose Huizar’s

12   guilty plea as a positive development for his case and declaring that

13   he would “continue to fight to reclaim [his] innocence and reputation

14   . . . unless the government[] dismiss my case.” 3        (Id. at 20.)    The

15   influence that such messages could have on a testifying witness with

16   whom defendant claims to have a persuasive power dynamic akin to a

17   “father-daughter like relationship” is self-evident.          (Resp., Chan

18   Decl. ¶ 11d.)    These messages also demonstrate that defendant’s sworn

19   claim--that “at no point in this case did I ever reach out to any

20   individuals later identified by the government’s prosecutors as

21   witnesses, to discuss the details of the pending case against me”--is

22   false. (Id. ¶ 11f.)

23

24        2 For privacy reasons, the photograph of one of the participants
     in the group messages has been redacted. Yan Yan does not send any
25   messages in the messages displayed in Exhibit A.
26        3 Defendant’s reference to the government potentially dismissing
     his case is further evidence of his manipulation and falsity since
27   the government had just recently, on January 9, 2023, provided the
     defendant and his counsel a reverse proffer outlining how it would
28   prove each of the dozen counts against him and emphasizing the
     government’s view of the strength of its evidence.
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1         Defendant’s post-SZNW trial contact with Yan Yan was not limited

2    to just the text message thread with the martial arts group.           It also

3    continued to include regular in-person meetings, as well as

4    communications in one-on-one text messages. 4       (Exs. B, C.)

5         Third, and even more troublingly, defendant had contact with Yan

6    Yan as recently as January 29, 2023--four days after the January 25

7    status conference during which this Court specifically admonished

8    that “if [defendant] violat[d] the terms of his bond, I’m going to

9    revoke his bond.”    (1/25/23 Hr’g Tr. at 19:15-18 (emphasis added);
10   see also id. at 18:19-22 (AUSA Jenkins explaining that defendant “has

11   been contacting Government witnesses which is also in violation of

12   the court order, Docket 100”).)      Specifically, during a meeting with

13   Yan Yan on February 2, 2023, the government learned from Yan Yan that

14   defendant attended a dinner with Yan Yan and other martial arts

15   students on January 29, 2023.      (Ex. C.)

16        While defendant may protest that attending a social group dinner

17   with Yan Yan was harmless, defendant’s flagrant and repeated flouting

18   of his bond condition raises serious concerns about his ability to

19   follow the Court’s instructions.      These serious concerns are

20   highlighted when, after being given the opportunity, via court order,

21   to fully come clean about these violations, defendant instead has

22   chosen a course of evasion, material omissions, and defiance.           (See

23   Resp. Chan Decl. ¶ 11d (claiming he merely provided “honest and

24   simple updates about my case”).)      Pre-trial release conditions are

25   not suggestions, and it is not for defendant to elect which to follow

26

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28        4 Yan Yan has declined to provide her consent for the government
     to review her one-on-one text messages with defendant.
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1    and when, as he sees fit.     They are Court orders that condition

2    defendant’s pre-trial release.      18 U.S.C. §§ 3142(a)(2), (c), (h).

3         Other than an incomplete and generalized description of his

4    contact with Yan Yan (which the government first flagged at the

5    status conference and in its opposition to defendant’s ex parte

6    application to modify his bond conditions), defendant fails to

7    specifically identify the other known witnesses with whom he has had

8    contact over the last two years.      (Resp., Chan Decl. ¶ 11 (describing

9    that “many friends and former colleagues contacted [him]”).)           Even
10   with respect to the 20 potential (defense) witnesses that defendant
11   admits he contacted, defendant does not identify five of those
12   witnesses and he does not specify the number and dates of all
13   contacts, or the form of the contacts (oral or in writing), when he
14   (1) sought to confirm if they would testify, and (2) coordinated
15   scheduling for interviews.     (See id. ¶ 11f.)     He also does not
16   disclose (3) whether there was any post-interview contact.

17        Defense counsel claims that the “requirement that I disclose

18   these fifteen witnesses as part of the litigation raises an issue

19   about whether Raymond Chan’s right to counsel was violated by this

20   forced premature disclosure to the Government.”         (Resp., Braun Decl.

21   ¶ 11.)   But this is yet another red herring.       Even prior to any of

22   the Court’s concerns raised herein, the Court had already has ordered

23   that defendant file his witness list on or before February 13, which

24   is just ten days after the date (February 3) defendant was ordered to

25   account for his prior contacts with all known witnesses in this case.

26   Yet defendant, like all other counsel, filed no written objection

27   asserting such a procedure violated some amorphous Constitutional

28   consideration.   However, now having been caught repeatedly violating

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1    a court order and being reasonably required to answer for his

2    conduct, defendant appears to use this purported constitutional

3    assertion as a shield against responding to the Court’s unequivocal

4    order to disclose his prior violations of his bond conditions.           This

5    point is made all the more obvious by the fact that defendant

6    concealed from his Court-ordered declaration numerous contacts with

7    Yan Yan after observing her testify in the SZNW trial. 5

8          Accordingly, the record remains unclear as to whether defendant

9    has had contact with other known witnesses (testifying or otherwise)
10   since December 2020, and the government has substantial doubts as to
11   the credibility of defendant’s assertions in his cursory accounting
12   of his contacts in his response to the Court’s OSC.
13   IV.   The Government Has Continuing Concerns That Jeremy Chan Has
           Participated in, and Will Continue to Participate in, the Case
14         in a Legal Capacity
15         In the response, both defendant and defense counsel also sow
16   significant doubt as to whether they will abide by the Court’s order-
17   -not to mention the existing bond condition--that going forward
18   Jeremy Chan not discuss the case with defendant nor participate in

19   his defense.

20

21

22         5Defense counsel also makes the dubious claim that he had not
     reviewed the “five-page booking documentation used on December 1,
23   2020”--i.e., defendant’s conditions of pretrial release (Dkt. No.
     100)--because he “certainly did not accompany Raymond Chan when he
24   was photographed, fingerprinted, and booked, nor did I sign any of
     the five pages of documentation.” (Resp., Braun Decl. ¶ 5.) Of
25   course, defendant’s bond conditions were not entered behind closed
     doors during the “booking process,” but rather in open court when
26   defendant made his initial appearance with Mr. Braun present and
     serving as counsel. (Dkt. No. 100.) In effect, defense counsel
27   doubles down on his previous claim that he was not aware of the
     specific bond conditions, which gives the government additional
28   concern as to defendant and his counsel’s compliance with those
     conditions going forward.
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1         Defendant’s declaration makes clear that, despite his knowledge

2    of the specific condition that he have “no discussion of [the]

3    pending action” with Jeremy Chan (Resp., Chan Decl. ¶ 4a), he has

4    done precisely that throughout the life of this case. 6         Even beyond

5    just discussing the case, defendant admits that he has discussed the

6    case with Jeremy Chan (whom he describes as a licensed attorney with

7    “an expert technical understanding of the evidence”) in a legal or

8    quasi-legal capacity, and that Jeremy Chan has spent “thousands of

9    hours over the past 2 years helping [defendant] review, prepare, and
10   organize trial exhibits and demonstratives.”        (Id. ¶ 10.)     Defendant
11   asserts that Jeremy Chan “has become an indispensable part of my

12   defense team and his exclusion would be an incalculable loss to me.”

13   (Id.)

14        While defendant does not expressly admit that Jeremy Chan was

15   provided access to the discovery in this case, that seems to be the

16   reasonable conclusion based on Jeremy Chan’s review of purported

17   “trial exhibits and demonstratives” for thousands of hours over the

18   last two years.   (Resp., Chan Decl. ¶ 10.)       The Court’s Protective

19   Order in this case restricted access to discovery marked as

20   Cooperator Materials and Sensitive Materials to the Defense Team and

21   defendant.   (Dkt. No. 47 ¶ 5f.)     The Defense Team was specifically

22   defined to exclude defendant’s family members.         (Id. ¶ 5c (“The

23   Defense Team does not include defendant, defendant’s family members

24   or any other associates of defendant.”) (emphasis added).)           Should

25
          6 Elsewhere in his declaration, defendant offers a similarly
26   illogical rationalization for his violations with respect to Jeremy
     Chan that he offered with respect to Yan Yan: that he did not intend
27   to violate the conditions of his release because Jeremy Chan “was not
     a victim or a co-defendant in this case” and “was not identified as a
28   government witness until sometime in or around December 2022.”
     (Resp., Chan Decl. ¶ 9.)
                                        9
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1    Jeremy Chan have reviewed discovery subject to the Protective Order--

2    as enabled by defendant--this would a violation of yet another Court

3    order.

4         Defense counsel similarly fails to state clearly that he will

5    comply with the Court’s order barring Jeremy Chan from participating

6    in the preparation of the case.      In his declaration, Mr. Braun again

7    concedes that “Jeremy Chan would not be counsel of record,” but

8    asserts that the circumstances of this case “should not prohibit a

9    father talking to his son, particularly when his son has gone to law
10   school and is a licensed attorney.”        (Resp., Braun Decl. ¶ 17.)      Mr.
11   Braun’s challenge of the Court’s January 31, 2023 order restricting
12   Jeremy Chan’s participation in preparing the defense, and notable
13   absence of any reassurances that the defense will nevertheless comply
14   with such order, leaves it ambiguous at best as to how defense
15   counsel will proceed leading up to and during trial.
16        The Court should reject defendant’s and Mr. Braun’s already
17   failed attempt to relitigate Jeremy Chan’s role as anything other
18   than a percipient witness in this case.       As the Court correctly held:

19   Jeremy Chan’s participation in the preparation of the defense “would

20   present a risk of an actual conflict of interest regardless of

21   whether Jeremy Chan serves as trial counsel or is part of the legal

22   defense team that prepares the defense case for trial,” and that it

23   would violate the intended purpose of Federal Rule of Evidence 615 if

24   Jeremy Chan were “to be present during meetings with other potential

25   witnesses.”   (Dkt. No. 922 at 3.)     Notably, neither defendant’s nor

26   Mr. Braun’s declarations disclose one way or the other if Jeremy Chan

27   participated in the interviews of the 15 potential defense witnesses.

28   Even if defendant excused himself from the interviews, the presence

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1    of Jeremy Chan as defendant’s son, proxy, and mouthpiece for the

2    defense in those interviews would be highly problematic.

3          Finally, the defense’s broad reliance on “constitutional issues”

4    left to be “litigated another day,” as well as defendant’s attempts

5    to shift blame to the government for his violations of his Court-

6    ordered pre-trial release conditions, are not well taken.           Prior to

7    January 26, 2023, the defense never sought judicial relief from

8    defendant’s bond conditions, which the government has no authority to

9    “waive” or remove.    And when defendant finally sought such relief for
10   the first time less than two weeks ago, the Court denied the
11   application.   Defendant’s remarks in this regard are more a
12   reflection of his dismissive attitude towards the Court’s orders and
13   his unwillingness to take responsibility for his own actions and
14   decisions--none of which inspires confidence that he will strictly
15   comply with his bond conditions moving forward, as he is required to
16   do.
17   V.    CONCLUSION
18         For the foregoing reasons, the government submits this reply to

19   (1) supplement the record with evidence establishing that defendant

20   has repeatedly violated multiple court orders regarding contacting

21   Yan Yan, a known witness; (2) correct the record as to the misleading

22   and incomplete information provided by defendant’s declaration; and

23   (3) establish that the record supports revocation of defendant’s bond

24   and remand for his failure to follow court orders and for offering an

25   insufficient and incredible showing that he will cease such

26   violations.    That said, the government defers to the Court’s judgment

27   on this matter and makes no recommendation as to the ultimate ruling

28   on its Order to Show Cause.

                                           11
